         Case 3:24-cv-00122-BAJ-RLB           Document 11     02/21/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 FLORIDA GAS TRANSMISSION                          CIVIL ACTION NO.: 3:24-cv-00122-
 COMPANY, LLC                                      BAJ-RLB


 V.                                                JUDGE: BRIAN A. JACKSON

 8.22 ACRES, MORE OR LESS,
                                                   MAGISTRATE JUDGE: RICHARD L.
 SITUATED IN IBERVILLE PARISH,
                                                   BOURGEOIS, JR.
 LOUISIANA, MURRELL FAMILY
 L.L.C, AND FOREST HOME
 PLANTATION, L.L.C



                        CORPORATE DISCLOSURE STATEMENT


       NOW INTO COURT comes Florida Gas Transmission Company, LLC, through

undersigned counsel, and pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local

Rule 7.1, files this Corporate Disclosure Statement.

       Florida Gas Transmission Company, LLC represents that it is a limited liability company

and its sole member is Citrus, LLC. Citrus, LLC’s two members are subsidiaries of Energy

Transfer, L.P. and Kinder Morgan, Inc. Both Energy Transfer, L.P. and Kinder Morgan, Inc. are

publicly traded companies. No other publicly traded company owns 10% or more of Florida Gas

Transmission Company, LLC.
         Case 3:24-cv-00122-BAJ-RLB            Document 11        02/21/24 Page 2 of 2




                                              Respectfully submitted,


                                              /s/ Matthew D. Simone
                                              Cheryl M. Kornick (Bar #19652)
                                              Matthew D. Simone (Bar# 32690)
                                              Zachary D. Berryman (Bar# 40278)
                                              LISKOW & LEWIS
                                              701 Poydras Street, Suite 5000
                                              New Orleans, Louisiana 70139
                                              Telephone: 504-581-7979
                                              Facsimile: 504-556-4108
                                              Email: cmkornick@liskow.com
                                                      mdsimone@liskow.com
                                                      zberryman@liskow.com

                                              Attorneys for Florida Gas Transmission Company,
                                              LLC




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 21, 2024 a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record registered to receive electronic service by operation of the court’s

electronic filing system.

                                                              /s/ Matthew D. Simone




                                                 -2-
